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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,


         v.
                                                      Criminal Action No. 20-206 (RDM)

 SHAHN GILES,

                Defendant.


                                              ORDER

       Defendant Shahn Giles moves for review of the Magistrate Judge’s order that he be

detained pending trial. Dkt. 23; Dkt. 28; see also 18 U.S.C. § 3145(b). The government opposes

his motion. Dkt. 26. For the reasons explained below, the Court will deny Giles’s motion.

       Under the Bail Reform Act of 1984, 18 U.S.C. § 3141 et seq., if a judicial officer finds

after conducting a hearing that “no condition or combination of conditions will reasonably assure

the appearance of the person as required and the safety of any other person and the community,

such judicial officer shall order the detention of the [defendant] before trial.” 18 U.S.C.

§ 3142(e). In making this assessment, the default is generally that a defendant should be released

pending trial, but the Bail Reform Act creates a rebuttable presumption “that no condition or

combination of conditions will reasonably assure . . . the safety of the community if . . . there is

probable cause to believe that the person committed” one of an enumerated list of crimes.

United States v. Taylor, 289 F. Supp. 3d 55, 62 (D.D.C. 2018) (quoting 18 U.S.C. § 3142(e)(2)).

Once the presumption is triggered, the defendant, at a minimum, bears a burden of production,

and he must offer at least some credible evidence showing that his case falls “outside the
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congressional paradigm” giving rise to the presumption. Id. (quoting United States v. Stone, 608

F.3d 939, 945 (6th Cir. 2010)).

        If the defendant meets his burden of production, the presumption “does not disappear

entirely but remains a factor to be considered among those weighed by the district court.” Id.

(quoting United States v. Mercedes, 254 F.3d 433, 436 (2d Cir. 2001)). Beyond the presumption,

the Bail Reform Act specifies four factors a judicial officer must “take into account” in

determining whether any conditions of release “will reasonably assure . . . the safety of any other

person” and the community: (1) “the nature and circumstances of the offense charged, including

whether the offense is a crime of violence, . . . or . . . involves . . . a controlled substance [or]

firearm;” (2) the weight of the evidence against the defendant; (3) the history and characteristics

of the defendant; and (4) “the nature and seriousness of the danger to any person or the

community that would be posed by the [defendant’s] release.” 18 U.S.C. § 3142(g).

        Under 18 U.S.C. § 3145(b), a defendant ordered detained by a magistrate judge may file

“a motion for revocation or amendment to the order” with “a court having original jurisdiction

over the offense.” 18 U.S.C. § 3145(b). Although the D.C. Circuit has yet to opine on the

question, substantial precedent supports the view that a magistrate judge’s detention order is

subject to de novo review by the district court, see United States v. Hunt, 240 F. Supp. 3d 128,

132 (D.D.C. 2017) (identifying cases supporting this proposition from the Second, Third, Fourth,

Fifth, Sixth, Seventh, Eighth, Ninth, Tenth, and Eleventh Circuits), and this Court has previously

followed that course, Taylor, 289 F. Supp. 3d at 66.

        Here, Defendant has been charged with unlawful possession with intent to distribute 40

grams or more of fentanyl in violation of 28 U.S.C. §§ 841(a)(1) and 841(b)(1)(B)(vi). Because

those charges carry a maximum term of imprisonment of ten years or more under the Controlled



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Substances Act, Defendant is subject to a rebuttable presumption “that no condition or

combination of conditions will reasonably assure the appearance of [Defendant] as required and

the safety of the community.” 18 U.S.C. § 3142(e)(3)(A). Defendant acknowledges that the

presumption applies in his case. See Dkt. 23 at 1. But Defendant argues that the presumption is

rebutted because he has “no substantial criminal history, much less one for violence” and “[h]e

was not arrested in actual possession of a weapon.” Id. at 2. Defendant proposes that, if

released, he would remain in “lockdown” 24 hours per day, 7 days per week at his mother’s new

house and would work from home in a job that his mother has arranged for him. Id. On October

30, 2020, the Court held a motion hearing at which Defendant’s mother testified as to her

willingness to take responsibility for her son if he were released. See Minute Entry (Oct. 30,

2020). Although impressed by Ms. Giles’s testimony, the Court concludes that the factors set

forth in 18 U.S.C. § 3142(g) weigh in favor of Defendant’s continued detention.

       The first factor, the nature and circumstances of the offense, weighs slightly in favor of

detention. Defendant is accused of possessing with intent to distribute a large amount of

fentanyl. He faces a five-year mandatory minimum if convicted, which reflects the severity of

the charges against him. Dkt. 26 at 4. Although the government does not contend that

Defendant possessed a firearm, the distribution of such a dangerous drug poses a grave danger to

the community.

       The second factor, the weight of the evidence, also weighs in favor of detention.

Defendant was subject to a judicially authorized search warrant, was found in actual possession

of narcotics, and the recovery of the narcotics was allegedly captured on the arresting officers’

body-worn cameras. Dkt. 26 at 4–5. The evidence against Defendant is thus strong.




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        The third factor, the history and characteristics of the defendant, weighs most heavily in

favor of Defendant’s detention. At the time Defendant was arrested in this case, he was on

pretrial release and in the High-Intensity Supervision Program (“HISP”) for a case in the

Superior Court of the District of Columbia. Dkt. 26 at 5–6. In that case, Defendant was

apprehended with narcotics and a loaded firearm with a high capacity magazine. Id. Given that

Defendant committed the instant offense while on pretrial release, the Court is unpersuaded that

releasing him again would not lead to further conduct of the type alleged. Even requiring

Defendant to remain in his mother’s home around the clock may not be effective, given his prior

violations of the conditions of his release.

        Finally, with respect to danger to the community, the Court observes that fentanyl is an

extremely dangerous drug that has caused great harm in the community. Given that Defendant

has allegedly distributed narcotics while on pretrial release in the past, releasing him would pose

a danger to the community. The 18 U.S.C. § 3142(g) factors thus support Defendant’s continued

pretrial detention.

                                          CONCLUSION

        For the reasons explained above, it is hereby ORDERED that Defendant’s motion for release

pursuant to 18 U.S.C. §§ 3145(b) and 3142(e), see Dkt. 23; Dkt. 28, is DENIED. Defendant’s

motion also mentions that he “has a medical condition (irregular heartbeat), which places him at high

risk for serious complications from COVID-19.” Dkt. 23 at 1. If Defendant would like to seek his

release on the ground that his health condition exposes him to heightened risk from the pandemic




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while detained, he may do so in a separate motion, supported by medical evidence and legal analysis

relating to the availability of release pending trial based on any such medical concerns.

        SO ORDERED.

                                                        /s/ Randolph D. Moss
                                                        RANDOLPH D. MOSS
                                                        United States District Judge


Date: November 2, 2020




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